                       IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF KANSAS

In Re:

         MARK H. ENGEN,                                                CASE NO. 15-
         MAUREEN E. ENGEN,
                        Debtors.

                           MOTION TO DEVIATE FROM S.O. 11- 3(F)

        COME NOW the debtors, through their attorney of record, and for their Motion to
Deviate From Standing Order 11-3(F) requiring employer pay on mortgage arrearages cases,
state as follows:

         1.   Debtor is the business manager of a large, suburban religious parish;

         2.   Joint Debtor is the principal of a large, suburban religious school;

         3. Debtors believe their positions would be compromised and possibly even lost if they
            were required to notify their employers of the filing of this case;

         4. Debtors will make every plan payment, on or before every due date.

       WHEREFORE, debtors pray for an Order of the Court, permitting them to deviate from
the employer pay requirement of S.O. 11-3(F).


Date: 1/30/2015                                         Respectfully Submitted by,


                                                        /s/ Teresa M. Kidd
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